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                   Thomas-Jensen
                    Affirmation



                      Exhibit # 103
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                                                          #: 5058


                                           UNITED STATES DISTRICT COURT
                                         FOR THE DISTRICT OF RHODE ISLAND



     STATE OF NEW YORK; et al.,

                      Plaintiffs,

              v.                                              C.A. No. 1:25-cv-00039-JJM-PAS

     DONALD TRUMP, in his official capacity as
     President of the United States; et al.,

                      Defendants.



                                             DECLARATION OF IREM TUMER
                     I, Irem Tumer, declare as follows:
        1. I am Irem Tumer, Vice President for Research and Innovation at Oregon State University.

        2. I submit this declaration as evidence in further support of Plaintiff’s Motion for a Preliminary Injunction.

            The facts set forth herein are based upon my personal knowledge and/or a review of the files in my

            possession.

        3. Oregon State University is the land grant university of the State of Oregon, a Carnegie Classification of

            Institutions of Higher Education Research I designated institution, and one of three land, sea, space, and

            sun grant universities in the United States.

        4. Oregon State University is committed to teaching, research, and outreach and engagement. The university

            promotes economic, social, cultural and environmental progress for the people of Oregon, the nation,

            and the world.

        5. Oregon State University has approximately 36,636 students and approximately 2,800 faculty.

            Approximately 3,770 Oregon State University faculty, staff, and students have been paid on federal

            grants for the university’s 2025 fiscal year (July 1, 2024 – December 31, 2024; ending June 30, 2025).

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        6. Oregon State University conducts cutting edge research with internationally recognized researchers in

            collaboration with other universities; state, national, and international government entities; nonprofit

            organizations, and commercial entities. Research at Oregon State University creates knowledge that

            leads to innovations, commercial products and services, and supports the launch and growth of research-

            based startups in fields such as medicine and energy storage.

        7. Oregon State University’s total federally funded research expenditures for the university’s 2024 fiscal

            year (July 1, 2023 – June 30, 2024) averaged between $23.9 million to $44.6 million per month.

        8. Oregon State University’s total federally funded research expenditures for the university’s 2025 fiscal

            year (July 1, 2024 – December 31, 2024, ending June 30, 2025) averaged between $23.7 million to

            $37.3 million per month.

        9. Oregon State University’s top three federal funding agencies for the university’s 2025 fiscal year (July 1,

            2024 - December 2024; ending June 30, 2025), are the National Science Foundation ($46.4 million),

            Department of Energy ($36.2 million), and Department of Agriculture ($33.8 million).

        10. Oregon State University’s federal funding generates additional funding for university research and

            substantial economic benefits to the broader community. For example, the Oregon Sea Grant program

            supports coastal counties. Nationally, coastal counties contribute 46% of U.S. gross domestic product

            and 39% of jobs in the U.S. Oregon Sea Grant received approximately $4 million in federal funding for

            the university’s 2024fiscal year. That funding generated an additional $7.2 million in funding, resulting

            in $14 million in economic benefits to Oregonians, including environmental literacy and workforce

            development, resilient communities and economies, sustainable fisheries and aquaculture, and healthy

            coastal ecosystems.

        11. The White House Office of Management and Budget released a memorandum initiating a federal

            funding freeze, M-25-13, on 1/27/2025, scheduled to take effect 1/28/2025 at 5:00 PM Eastern Time.



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        12. Since the release of the OMB memo, M-25-13, Oregon State University has experienced impacts to

            federally funded grants ranging from termination, payment delinquency for work already completed,

            budget reduction, and withdrawn opportunities. Even a temporary pause on the issuance of new awards

            and on the disbursement of federal funds for open awards would have broad impacts on the work of the

            university.

        13. Oregon State University has received five total stop work orders from federal agencies, at least one stop

            work order explicitly resulting from the OMB memo and sent to OSU on 1/28/25.

        14. Oregon State University received a memorandum on 1/22/25 from the U.S. Geological Survey, U.S.

            Department of the Interior, for Cooperative Agreement G23AC00657 directing a cessation of all related

            research activities under the agreement. See Exhibit A.

        15. Oregon State University received an email on 1/27/25 from the U.S. Department of Agriculture for

            Award FX24BF-10777R014 to pause all activities under the Borlaug Fellowship Agreement, including

            to “hold off utilizing remaining research funds.” See Exhibit B.

        16. Oregon State University received a letter dated 1/28/25 to the Oregon State University Foundation from

            USAID for Agreement 72ASHA21GR00001 directing all work under the agreement to stop immediately

            upon receipt of the letter. See Exhibit C. Pausing or discontinuing HIV/AIDS programs threatens global

            health security by increasing the risk of drug-resistant HIV strains and cross-border disease

            transmission. Without consistent intervention, the situation could spiral into a global health crisis.

        17. Oregon State University received an email on 1/28/25 at 9:43 AM from U.S. Fish & Wildlife Service on

            Award F21AC00199 to pause spending. See Exhibit D.

        18. Oregon State University received an email on 2/04/25 from the Forest Service International Foundation

            for Subaward No. OSU-322-2024-101-00, to USDA-FS Award 24-DG-1113627, that the award was

            being terminated. See Exhibit E.



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        19. Oregon State University, including its university researchers and support staff, was unable to access

            some federal agency payment portals as of at least 2:00 Pacific Time on 1/28/25.

        20. Oregon State University could not access the National Science Foundation payment system portal until

            Sunday, 2/02/25, approximately 9:26 AM Pacific Time. This resulted in delays in payment requests to

            the agency and failures by the agency to fulfill valid payment requests submitted prior to the portal’s

            closure.

        21. Oregon State University has four National Science Foundation fellows who are paid directly by the

            National Science Foundation. At least one of those fellows could not access the National Science

            Foundation’s payment portal from 1/31/25 to 2/02/25 to receive their January paycheck.

        22. Oregon State University received notices from federal agencies of the new executive orders, OMB

            memo, or both. Some of these notices were received on or after 1/28/25.

        23. Oregon State University received notice of the administrative stay in the National Council of Nonprofits,

            et. al. v. OMB et. al. lawsuit, and could not access the NSF payment portal until 2/02/25.

        24. Oregon State University received notice of OMB’s rescission of M-25-13 via M-25-14 on 1/29/25, and

            could not access the National Science Foundation payment portal until 2/02/25.

        25. Oregon State University received notice of the White House Press Secretary’s statement on 1/29/25 that

            rescission of the OMB memo was not a rescission of the federal funding freeze, and could not access the

            National Science Foundation payment portal until 2/02/25.

        26. Oregon State University received notice of the temporary restraining order in this case on 1/31/25, and

            could not access the NSF payment portal until 2/02/25.

        27. Oregon State University has received no information from the National Science Foundation on

            processing timelines in the NSF payment portal, now that the portal is reopen.

        28. Oregon State University has been able to access other agencies’ payment system. However, there has

            been disparity on the outcomes of that access. In some instances, we’ve received payments, while in

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            others we’ve received rejections that need to be resubmitted, and in others appear to have payments

            delayed.

        29. As of the date of this declaration, the lack of clarity on the federal directives, lack of federal agency

            guidance, and the disparate federal agency payment portal accessibility has caused much confusion and

            concern for Oregon State University researchers. This has made continuing research, planning future

            research endeavors, and engaging in fundamental research community collaboration such as peer

            reviews, federal research panels and committees, and conferences, challenging during the period of the

            federal funding freeze and thereafter, with impacts likely to extend for years to come.




    I declare under penalty of perjury that the foregoing is true and correct.

                     Executed on this 5th day of February, at Barcelona, Spain.




                                                       _____________________________________
                                                       IREM TUMER
                                                       Vice President for Research and Innovation
                                                       Oregon State University




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                    EXHIBIT A
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                    EXHIBIT B
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                                                         PageID #: 5066
     From: West, Joyce - TFAA-FAS, DC <ioyce.west@usda.gov^C      ent
     Sent: Monday, January 27, 2025 10:52 AM
     To: Riggio, Mariapaola <mariapaola.riggio@oregonstate.edu>; Vega Gutierrez, Patricia Teresa
     <patricia.vega@oregonstate.edu>
     Cc: Flach, Andrew - TFAA-FAS, DC <Andrew.Flach@usda.gov>
     Subject: Follow Up/Reciprocal visit USDA FAS Borlaug Fellowship Program - Peru Dr. Marco Aurelio Rebaza


      [This email originated from outside of OSU. Use caution with links and attachments.]
     Good afternoon,

     We’ve been directed to notify you to pause activities under the Borlaug Fellowship agreement; please hold off
     utilizing remaining research funds.

     We will provide an update once we have more guidance.

     Thank you.

      Best,


      Joyce

      Joyce West
      International Program Specialist
      Office of Global Programs/Fellowship Programs Division
      Foreign Agricultural Service
      United States Department of Agriculture
      1400 Independence Ave. SW, 6640-B Washington, DC 20250



     Jovce.West@usda.gov




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     violate the law and subject the violator to civil or criminal penalties. If you believe you have received this
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                EXHIBIT D
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                                                         PageID  #: 5071
                                                           Attachment 4



          From: Marcum, Samantha <samantha marcum@fws.gov>
          Sent: Tuesday, January 28, 2025 9:43 AM
          To: FW8 Habitat Restoration Division <FW8 Habitat Restoration Division@fws.aov>
          Cc: FW8 Habitat Restoration Supervisors <FW8 Habitat Restoration Supervisors@fws.gov>
          Subject: URGENT: Hold all financial assistance spending
          Importance: High


          Hi Partners and Coastal team-


          Please see information below in John Huffman's email regarding the expenditure of funds for
          ALL financial assistance (i.e., contracts and cooperative agreements funded by 1121,
          1124, BIL, IRA, etc). This is an evolving situation. We were just informed that award
          recipients/cooperators need to pause spending for any agreement regardless of funding
          source.



          Please also note per John's email: "I do not know if payments will be processed in ASAP
          up to the indicated 5pm [EST] deadline today [1/28/2025] or if they are already receiving a
          notice that payment is under agency review. If your cooperators can advise you of what
          they are seeing please share it with me as it would be helpful to know."


          Also, please note from John's email: "Until such guidance and clarity is available, I recommend
          assuring our cooperators we are aware and working tirelessly to get awards/payments from
          Coastal and PFW Program's cleared as quickly as possible."

          If you have questions, please call your State or Regional Coordinator directly. We will keep you
          apprised of the situation as it unfolds.


          Thankyou-


          Samantha




          Samantha Marcum (she/her)


          Habitat Restoration Division Lead


          U. S. Fish & Wildlife Service


          Pacific Southwest Region


          (916) 201-3938




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          Coastal Program I Facebook




          From: Huffman, John <john huffman@fws.gov>
          Sent: Tuesday, January 28, 2025 8:37
          To: Gonzales, David <david gonzales@fws.gov>; Grant, Colleen E <colleen grant@fws.gov>; Wilhelm, Don
          <don wilhelm@fws.gov>; Cookson, Mark <mark cookson@fws.gov>; Marcum, Samantha
          <samantha marcum@fws.gov>; Darnell, Chris <chris darnell@fws.gov>; Leary, Pete <Rete leary_@fws.gov>;
          Mosley, Sherri <sherri mosley_@fws.gov>; Pierluissi, Sergio <sergiQ..Rierluissi@fws.gov>; Daigneault, Michael J
          <michael daigneault@fws.gov>; Eng, Chris <chris eng@fws.gov>; Moshogianis, Andreas M
          <andreas moshogianis@fws.gov>; Mattheiss, Jeffrey P <jeffre)' mattheiss@fws.gov>; Stonehouse, Kourtney F
          <kourtne)' stonehouse@fws.gov>; Littlejohn, Jalene <jalene littlejohn@fws.gov>; Connell, Lauren C
          <lauren connell@fws.gov>; Sawabini, Anna (Annie) <anna sawabini@fws.gov>; Freiday, Elizabeth
          <Elizabeth Freiday_@fws.gov>; Collier, Jessica J <jessica collier@fws.gov>; Brumbelow, Thomas R
          <thomas brumbelow@fws.gov>; Williams, Scott <scott williams@fws.gov>; Milley, Brad J
          <brad milley_@fws.gov>
          Cc: Devore, Debbie <debbie devore@fws.gov>; Daisey, Amanda <Amanda Daisey_@fws.gov>; Christopher, Edwin
          A <edwin christoRher@fws.gov>; Wallace, Jon <jon wallace@fws.gov>
          Subject: Re: Hold all BIL funded project spending

          All,
          By now you and many of our cooperators have seen the news articles and an accompanying
          0MB memo (https://www.cnn.com/2025/01 /27/politics/white-house-pauses-federal-grants-loan­
          disbursement/index. html)

          The 0MB memo states " ... , to the extent permissible under applicable law, Federal agencies
          must temporarily pause all activities related to obligation or disbursement of all Federal financial
          assistance, and other relevant agency
          activities that may be implicated by the executive orders, including, but not limited to, financial
          assistance for foreign aid, nongovernmental organizations, DEi, woke gender ideology, and the
          green new deal. " The memo further states the pause will start today Tuesday, Jan 28th at
          5pm.

          At least temporarily, this is being considered to apply to all fund sources not just BIL and IRA as
          previously understood and affect previous awards as well as pending or recent awards.

          I do not know if payments will be processed in ASAP up to the indicated 5pm deadline today or
          if they are already receiving a notice that payment is under agency review. If your cooperators
          can advise you of what they are seeing please share it with me as it would be helpful to know.
          Our colleagues in FASO and us are working to clarify the details in hopes to resolve this
          circumstance as quickly as possible and provide additional guidance on how to proceed
          including messaging to our cooperators.

          Until such guidance and clarity is available, I recommend assuring our cooperators we are
          aware and working tirelessly to get awards/payments from Coastal and PFW Program's cleared
          as quickly as possible.

          The timeframe for such clearance is uncertain.

          As evidenced of the last 24 hours, things are changing quickly and new information is coming
          out everyday. So I employ you all to stay calm, be patience, communicate what we know and
          what we don't.
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          This will get resolved and I hope in short order


          Warmest regards to all,
          John


          John Huffman

          Chief, Branch of Habitat Restoration


          National Wildlife Refuge System, Division of Natural Resources and Conservation Planning


          5275 Leesburg Pike, Mail Stop: NWRS


          Falls Church, VA 22041


          cell #: 281-682-3598



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          Farm Bill Conservation Program


          Farm Conservation




          From: Huffman, John ciohn huffman@fws.gov>
          Sent: Monday, January 27, 2025 5:14 PM
          To: Gonzales, David <david gonzales@fws.gov>; Grant, Colleen E ccolleen grant@fws.gov>: Wilhelm, Don
          <don wilhelm@fws.gov>; Cookson, Mark cmark cookson@fws.gov>: Marcum, Samantha
          <samantha marcum@fws.gov>: Darnell, Chris cchris darnell@fws.gov>: Leary, Pete <oete learv@fws.gov>:
          Mosley, Sherri <sherri mosley@fws.gov>: Pieri uissi, Sergio csergio pierluissi@fws.gov>: Daigneault, Michael J
          cmichael daigneault@fws.gov>: Eng, Chris cchris eng@fws.goy>; Moshogianis, Andreas M
          candreas moshogianis@fws.gov>: Mattheiss, Jeffrey P cieffrev mattheiss@fws.gov>: Stonehouse, Kourtney F
          ckourtnev stonehouse@fws.gov>: Littlejohn, Jalene cialene littleiohn@fws.gov>: Connell, Lauren C
          clauren connell@fws.gov>: Sawabini, Anna (Annie) canna sawabini@fws.gov>: Freiday, Elizabeth
          cElizabeth Freidav@fws.gov>: Collier, Jessica J ciessica collier@fws.gov>: Brumbelow, Thomas R
          cthomas brumbelow@fws.gov>; Williams, Scott cscott williams@fws.gov>: Milley, Brad J
          cbrad millev@fws.gov>
          Cc: DeVore, Debbie cdebbie devore@fws.gov>: Daisey, Amanda cAmanda Daisev@fws.gov>: Christopher, Edwin

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                                                         PageID #: 5074
          A <edwin christopher@fws.gov>: Wallace, Jon <ion wallace@fws.gov>
          Subject: Re: Hold all BIL funded project spending


          \Ne are not issuing work stop orders at this time.



          John


          John Huffman


          Chief, Branch of Habitat Restoration


          National Wildlife Refuge System, Division of Natural Resources and Conservation Planning


          5275 Leesburg Pike, Mail Stop: NWRS


          Falls Church, VA 22041


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          From: Gonzales, David <david gonzales@fws.gov>
          Sent: Monday, January 27, 2025 4:58 PM
          To: Huffman, John ciohn huffman@fws.gov>: Grant, Colleen E ccolleen grant@fws.gov>: Wilhelm, Don
          <don wilhelm@fws.gov>: Cookson, Mark cmark cookson @fws.gov>: Marcum, Samantha
          <samantha marcum@fws.gov>: Darnell, Chris cchris darnell@fws.gov>: Leary, Pete <oete learv@fws.gov>:
          Mosley, Sherri <sherri moslev@fws.gov>: Pierluissi, Sergio csergio pierluissi@fws.gov>: Daigneault, Michael J
          cmichael daigneault@fws.gov>: Eng, Chris cchris eng@fws.gov>; Moshogianis, Andreas M
          candreas moshogianis@fws.gov>: Mattheiss, Jeffrey P cjeffrev mattheiss@fws.gov>: Stonehouse, Kourtney F
          <kourtnev stonehouse@fws.gov>: Littlejohn, Jalene <ialene littleiohn@fws.gov>: Connell, Lauren C
          clauren connell@fws.gov>: Sawabini, Anna (Annie) <anna sawabini@fws.gov>: Freiday, Elizabeth
          cElizabeth Freidav@fws.gov>: Collier, Jessica J <iessica collier@fws.gov>: Brumbelow, Thomas R
          cthomas brumbelow@fws.gov>: Williams, Scott <scott williams@fws.gov>: Milley, Brad J

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                                                           PageID #: 5075
          <brad millev@fws. goy>
          Cc: DeVore, Debbie <debbie devore@fws.gov>: Daisey, Amanda <Amanda Daisev@fws.gov>; Christopher, Edwin
          A <edwin christopher@fws.gov>: Wallace, Jon < i o n wa 1 1 a ce @ fws . gov>
          Subject: Re: Hold all BIL funded project spending


          Follow up. Who is the right person to submit a work stop order. Is it the COR the Contracting officer CO?




          Dave Gonzales CMF®

          Conservation Delivery Coordinator


          (404) 772-3710 (cell)




          From: Huffman, John cjohn huffman@fws.gov>
          Sent: Monday, January 27, 2025 4:31:01 PM
          To: Grant, Colleen E ccolleen grant@fws.gov>: Wilhelm, Don <don wilhelm@fws.gov>; Cookson, Mark
          <mark cookson@fws.gov>: Marcum, Samantha <samantha marcum@fws.gov>: Darnell, Chris
          <chris darnell@fws.gov>: Leary, Pete <pete learv@fws.gov>: Mosley, Sherri <shenj rnosley_@fws.gov>; Pierluissi,
          Sergio <sergio pierluissi@fws.gov>: Daigneault, Michael J <michael daigneault@fws.gov>: Eng, Chris
          <chris eng@fws.gov>: Moshogianis, Andreas M <andreas moshogianis@fws.gov>: Gonzales, David
          <david gonzales@fws.gov>: Mattheiss, Jeffrey P <ieffrev mattheiss@fws.gov>: Stonehouse, Kourtney F
          <kourtnev stonehouse@fws.gov>: Littlejohn, Jalene <ialenejittlejohn@fws.gov>: Connell, Lauren C
          <lauren connell@fws.gov>: Sawabini, Anna (Annie) <anna sawabini@fws.gov>: Freiday, Elizabeth
          <Elizabeth Freiday@fws.gov>: Collier, Jessica J <iessica collier@fws.gov>: Brumbelow, Thomas R
          <thomas brumbelow@fws.gov>: Williams, Scott <scott williams@fws.gov>: Milley, Brad J
          <brad millev@fws.gov>
          Cc: DeVore, Debbie <debbie devore@fws.gov>: Daisey, Amanda <Amanda Daisev@fws.gov>: Christopher, Edwin
         A <edwin christopher@fws.gov>: Wallace, Jon <ion wallace@fws.gov>
          Subject: Re: Hold all BIL funded project spending


          Colleen,
          Great question and what I have been told is to hold off discussing this with cooperators. We are
          checking with FASO and others to confirm if there will be any potential impacts on the customer
          experience.


          I'll put this in the other email chain as well.

          More to come soon I hope.
         John


         John Huffman

         Chief, Branch of Habitat Restoration


          National Wildlife Refuge System, Division of Natural Resources and Conservation Planning


         5275 Leesburg Pike, Mail Stop: NWRS


          Falls Church, VA 22041


         cell#: 281-682-3598


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          From: Huffman, John <iohn huffman@fws.gov>
          Sent: Monday, January 27, 2025 10:03 AM
          To: Wilhelm, Don <don wilhelm@fws.gov>: Cookson, Mark cmark cookson@fws.gov>: Marcum, Samantha
          csamantha marcum@fws.gov>: Darnell, Chris cchris darneli@fws.gov>: Leary, Pete <pete leary@fws.gov>:
          Mosley, Sherri csherri moslev@fws.gov>: Pierluissi, Sergio csergio pierluissi@fws.gov>: Daigneault, Michael J
          cmichael daigneault@fws.gov>: Eng, Chris cchris eng@fws.gov>: Moshogianis, Andreas M
          candreas moshogianis@fws.gov>: Gonzales, David cdavidgonzales@fws.gov>: Mattheiss, Jeffrey P
          cieffrev mattheiss@fws.gov>: Stonehouse, Kourtney F <kourtnev stonehouse@fws.gov>: Littlejohn, Jalene
          cialene littleiohn@fws.gov>: Connell, Lauren C <lauren connell@fws.gov>: Sawabini, Anna (Annie)
          <anna sawabini@fws.gov>: Freiday, Elizabeth cElizabeth Freidav@fws.gov>: Collier, Jessica J
          ciessica coilier@fws.gov>: Brumbelow, Thomas R cthomas brumbelow@fws.gov>: Williams, Scott
          cscott williams@fws.gov>: Grant, Colleen E ccolleen grant@fws.gov>: Milley, Brad J <brad miliev@fws.gov>
          Cc: DeVore, Debbie <debbie devore@fws.gov>: Daisey, Amanda <Amanda Daisev@fws.gov>: Christopher, Edwin
          A <edwin christopher@fws.gov>: Wallace, Jon cion wallace@fws.gov>
          Subject: Hold all BIL funded project spending


          Coordinators,
          I believe most of you are aware but I wanted to confirm for you there is a complete hold on all
          BIL fund spending including those under previous awards. This would include BIL Hazardous
          Fuels Reduction projects, National Seed Strategy and any others using BIL fund. Until this gets
          sorted out and additional clarity is provided, do not spend any more BIL funds until we get
          clearances to proceed. 1 apologize I don't have more specific details to share with you at this
          moment, it has come to me through multiple sources including the NWRS Budget team, OCI
          and others.

          I apologize for the impacts this may have on your work. Please be patient. As new information
          information and clarity become available I will share it.

          John


          John Huffman

          Chief, Branch of Habitat Restoration


          National Wildlife Refuge System, Division of Natural Resources and Conservation Planning


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          Farm Bill Conservation Program


          Farm Conservation




          From: Grant, Colleen E <colleen grant@fws.gov>
          Sent: Monday, January 27, 2025 2:43 PM
          To: Huffman, John <iohn huffman@fws.gov>: Wilhelm, Don <don wilhelm@fws.gov>: Cookson, Mark
          cmark cookson@fws.gov>: Marcum, Samantha <samantha marcum@fws.gov>: Darnell, Chris
          cchris darnell@fws.gov>: Leary, Pete <pete leary@fws.gov>: Mosley, Sherri <sherri moslev@fws.gov>: Pierluissi,
          Sergio csergio pierluissi@fws.gov:>: Daigneault, Michael J cmichael daigneault@fws.gov>: Eng, Chris
          cchris eng@fws.gov>: Moshogianis, Andreas M candreas moshogianis@fws.gov>: Gonzales, David
          cdavid gonzales@fws.gov>: Mattheiss, Jeffrey P cieffrev mattheiss@fws.gov>: Stonehouse, Kourtney F
          ckourtney stonehouse@fws.gov>: Littlejohn, Jalene cialene littleiohn@fws.gov>: Connell, Lauren C
          clauren connell@fws.gov>: Sawabini, Anna (Annie) canna sawabini@fws.gov>: Freiday, Elizabeth
          cElizabeth Freidav@fws.gov>: Collier, Jessica J cjessica collier@fws.gov>: Brumbelow, Thomas R
          cthomas brumbelow@fws.gov>: Williams, Scott cscott williams@fws.gov>: Milley, Brad J
          cbrad millev@fws.gov>
          Cc: DeVore, Debbie cdebbie devore@fws.gov>: Daisey, Amanda cAmanda Daisey@fws.gov>: Christopher, Edwin
          A cedwin christopher@fws.gov>: Wallace, Jon cion wallace@fws.gov>
          Subject: Re: Hold all BIL funded project spending


          Hi John,


          Thank you for sharing. Do you know if the cooperators have been informed or should we reach out to let
          them know?


          Best,
          Colleen Grant (she/her)
          Coastal Program Regional Coordinator
          Pacific Southwest Region | U.S. Fish & Wildlife Service
          (805) 535-8663


                                                             Coastal Program



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          Farm Bill Conservation Program


          Farm Conservation




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                EXHIBIT E
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            February 4, 2025

            Vickie Watkins
            Managing Grant and Contract Officer
            Oregon State University
            Office for Sponsored Research and Award Administration
            A312 Kerr Administration Building
            Corvallis, OR 97331-2140

            Email: sponsored.programs@oregonstate.edu

            Reference: Termination Notice for FSIF Subaward No. OSU-322-2024-101-00

            Dear Vickie Watkins:

            We write to inform you that the above-referenced sub-award is being terminated pursuant to 2 CFR
            200.340. We are requesting that you cease incurring expenses and obligations under the
            above-referenced award as of the date of this letter. Kindly submit any pending milestone invoices to
            FSIF per the subaward terms by February 14, 2025. If this is not possible, please contact us to discuss
            alternative arrangements.

            Circumstances that are entirely outside of our control – namely the curtailment of the program that was
            the basis for this sub-award - have necessitated this termination and this action should, in no way, be
            viewed as a reflection of your institution’s performance under the award.

            Please confirm receipt of this letter immediately by replying to
            jennifer.pruessner@forestserviceinternational.org.

            We value your partnership and appreciate your understanding.

            Sincerely yours,




            Zachary Hubbell
            Executive Director (Interim)
            Forest Service International Foundation

            Copy:
            Dr. Suhyun Jung, suhyun.jung@oregonstate.edu, FORSEE Fellow, Oregon State University
            Kruti Patel, kruti.patel@usda.gov, Program Manager, United States Forest Service
            Jennifer Pruessner, jennifer.pruessner@forestserviceinternational.org, Operations Manager, FSIF

                                                                                   Forest Service International Foundation
                                                                                   712 H ST NE #1339, Washington, DC 20002
                                                                                         www.forestserviceinternational.org
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